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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS

                                                :
 JOSEPH MANTHA on behalf of                     :
 themselves and others similarly situated,      :
                                                :    Case No. 1:19-cv-12235-LTS
           Plaintiff,                           :
                                                :    Leave To File Granted on 7/12/2024
 v.                                             :    ECF #363
                                                :
 QUOTEWIZARD.COM, LLC                           :
                                                :
           Defendant.                           :
                                                :



                        MOTION TO FILE SUPPLEMENTAL AUTHORITY

          Plaintiff Joseph Mantha (“Mr. Mantha”) submits this notice of supplemental filing to

bring to the Court’s attention the recent decision from the United States District Court for the

District of Maryland in Bradley v. Dental plans.com, 2024 U.S.Dist.LEXIS 100550 (June 6,

2024). Plaintiff submits that the decision is relevant to motions now briefed and pending before

the Court, specifically relating to the issue as to the requisites of TCPA compliant consent and

the application of E-Sign as it relates to TCPA compliant consent. See ECF ## 339, 340, 348

and 358. A copy of the opinion is attached. The defendant has not assented to this supplemental

filing.


Respectfully Submitted,                                 Plaintiff, by his attorneys:
                                                        /s/ Matthew P. McCue
                                                        Matthew P. McCue
                                                        The Law Office of Matthew P. McCue
                                                        1 South Ave., Third Floor
                                                        Natick, MA 01760
                                                        Telephone: (508) 655-1415
                                                        mmcue@massattorneys.net
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                                                     John W. Barrett
                                                     Brian Glasser
                                                     Bailey & Glasser LLP
                                                     209 Capitol Street
                                                     Charleston, WV 25301
                                                     Telephone: (304) 345-6555
                                                     jbarrett@baileyglasser.com
                                                     bglasser@baileyglasser.com

                                                     Edward A. Broderick
                                                     Broderick Law, P.C.
                                                     176 Federal Street, Fifth Floor
                                                     Boston, MA 02110
                                                     Telephone: (617) 738-7089
                                                     ted@broderick-law.com

                                                     Anthony I. Paronich
                                                     Paronich Law, P.C.
                                                     350 Lincoln Street, Suite 2400
                                                     Hingham, MA 02043
                                                     Telephone: (508) 221-1510
                                                     anthony@paronichlaw.com

                                                     Alex M. Washkowitz
                                                     CW Law Group, P.C.
                                                     188 Oaks Road
                                                     Framingham, MA 01701
                                                     alex@cwlawgrouppc.com

                                        CERTIFICATION

       Plaintiff’s counsel have conferred with counsel for QuoteWizard who do not assent to the

filing of this supplemental notice.

                                            /s/ Matthew P. McCue
                                            Matthew P. McCue




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                                CERTIFICATE OF SERVICE

       I, hereby certify that on July 12, 2024, I served the foregoing through the Court’s

CM/ECF system, which sent notice to all counsel of record.

                                             /s/ Matthew P. McCue
                                             Matthew P. McCue




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